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                       UNITED STATES DISTRICT COURT
                            DISTRICT OF MAINE


 PENOBSCOT NATION,                        )
                                          )
 Plaintiff,                               )     Docket # 1:12-cv-00254-GZS
                                          )
 v.                                       )
                                          )
 WILLIAM SCHNEIDER, et al.,               )
                                          )
 Defendants                               )


                                   EXHIBIT J

                                     TO

                         MOTION TO INTERVENE OF
         CITY OF BREWER, TOWN OF BUCKSPORT, COVANTA MAINE, LLC,
      TOWN OF EAST MILLINOCKET, GREAT NORTHERN PAPER COMPANY, LLC,
        GUILFORD-SANGERVILLE SANITARY DISTRICT, TOWN OF HOWLAND,
                KRUGER ENERGY (USA) INC., TOWN OF LINCOLN,
         LINCOLN PAPER AND TISSUE, LLC., LINCOLN SANITARY DISTRICT,
      TOWN OF MATTAWAMKEAG, TOWN OF MILLINOCKET, TOWN OF ORONO,
              RED SHIELD ACQUISITION LLC, TRUE TEXTILES, INC.,
               VEAZIE SEWER DISTRICT, AND VERSO PAPER CORP.
Case 1:12-cv-00254-GZS Document 12-10 Filed 02/18/13 Page 2 of 3                              PageID #: 152



                                    UNITED STATES DISTRICT COURT
                                         DISTRICT OF MAlNE

PENOBSCOT NATION,

                             Plaintiff,
                                                                    Docket No. I : 12-cv-00254-GZS
                 v.

WILLIAM SCHNEIDER, et aI.,

                             Defendants



                                                AFFIDA VIT OF
                                               DAROLD WOOLEY

                 I.   My name is Darold Wooley. I am the Superintendent of the Lincoln Sanitary

District.

                 2.   Lincoln Sanitary District is a sanitary district located in Lincoln, Maine, that owns

and operates a wastewater treatment plant that discharges treated wastewater to the Penobscot

River.

                 3.   Lincoln Sanitary District's interest in this proceeding is to ensure that its

operations will not be subject to regulation by the Penobscot Nation, which has asserted that its

Reservation includes the Penobscot River, and that it is entitled to regulate the waters of that

River as well as discharges that might affect downstream reaches of the Penobscot River.




Date:_/I-/-",3'-1/,--,~/-=.2.=-_ _ __



( W34JJ992. I)
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 STATE OF MAINE
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 Personally appeared before me on the ~ day o~~.,." , 2012, the above named, Darold
 Wooley, and gave oath that the foregoing is true and based upon his personal knowledge,
 information, and belief

                                         Before me,



                                         Notary Publici Attorney at Law


                                         Print Name and Title
                                         My Commission Expires : ~"':\ '2-1 '2-6 \3
                                                                           j




 (W303992.I )

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